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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEW JERSEY

    In re:                                                 Chapter 11

    BLOCKFI INC., et al.,                                  Case No. 22-19361 (MBK)

                            Debtors.1                      Jointly Administered



1
  The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: BlockFi Inc. (0015); BlockFi Trading LLC. (2487); BlockFi Lending LLC
(5017); BlockFi Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A);
BlockFi Investment Products LLC (2422); BlockFi Services, Inc. (5965) and BlockFi Lending II LLC
(0154). The location of the Debtors’ service address is 201 Montgomery Street, Suite 263, Jersey City,
NJ 07302.
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               CERTIFICATION OF BENNETT S. SILVERBERG, ESQ.

     I, Bennett S. Silverberg, Esq., hereby certify as follows:

     1.   I am a partner with the law firm of Brown Rudnick LLP, proposed counsel to the

          Official Committee of Unsecured Creditors. My office is located at Seven Times

          Square, New York, New York 10036. I make this Certification in support of my

          application to appear in this case pro hac vice pursuant to Local Bankruptcy Rule 9010-

          1.

     2. I was admitted to practice law in the State of New York in 2001. I am admitted to

          Practice before the following courts:

                    •   United States District Court for the Southern District of New York

                    •   United States District Court for the Eastern District of New York

     3. I am a member in good stating of the Bar in each of the jurisdictions in which I am

          admitted to practice.

     4. No disciplinary proceedings are pending against me in any jurisdiction. I have never

          been suspended or disbarred from the practice of law.

     5. I have obtained a copy of the Local Bankruptcy Rules and am generally familiar with

          such Rules. I will comply with all court and ethical rules governing the practice of law

          before this Court.

     6. I further agree to pay all fees to the Clerk of the United Stated District Court for the

          District of New Jersey and the Lawyer’s Fund for Client Protection as provided in Rule

          101.1 of the Local Rules of the United States District Court for the District of New

          Jersey.




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             I declare under penalty of perjury that the foregoing is true and correct to the best

         of my knowledge, information and belief.




Dated: December 30, 2022                           /s/ Bennett S. Silverberg_______
                                                   BENNETT S. SILVERBERG
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                                                   New York, NY 10036
                                                   Email: bsilverberg@brownrudnick.com

                                                   Proposed Counsel for the Official Committee
                                                   Of Unsecured Creditors




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